Case:17-01578-ESL11 Doc#:30 Filed:05/15/17 Entered:05/15/17 11:11:44           Desc: Main
                           Document Page 1 of 4


                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF PUERTO RICO


       IN RE:                                     *
                                                       CASE NO. 17-01578(ESL)
                                                       CHAPTER 11
       DR. LAURA I GALINDEZ MATOS
       Debtor
       ________________________________*

                             MOTION IN COMPLIANCE WITH ORDER


       TO THE HONORABLE COURT:

             NOW COMES the        above   named debtor through           the    undersigned
       attorney and very respectfully alleges and states.
             1.    That the Honorable Court entered Order directing debtor
       to   file   seven    (7)   days    prior       to   Status   Conference     a   report
       including the following:
             A.    Debtor is a small business as defined in 11 U.S.C. 101
       (51C).
             B. Debtor is a doctor in medicine with a sub-specialty in
       Cardiology. Debtor operates a medical office with a practice in
       Cardiology and renders professional services for certain hospitals
       attending patients with Cardiology issues.
             C.    Debtor filed the present bankruptcy mainly due to monies
       owed to Department of Treasury which debtor accumulated in the past
       ten (10) years and was unable to pay.
             D.    At present the estimated sum of all professional fees
       expected to accrue in case is $0.
             E.    There are no significant events pending.
             F.    There is no need for future status conference.
Case:17-01578-ESL11 Doc#:30 Filed:05/15/17 Entered:05/15/17 11:11:44   Desc: Main
                           Document Page 2 of 4




                                             2
             G.     The plan and Disclosure Statement will be filed within
                  two (3) months.
             WHEREFORE it is respectfully requested that this Honorable
       Court take notice of Debtor’s Compliance with Order on Status
       Conference.
             I CERTIFY that on this date I have electronically filed the
       foregoing motion with the Clerk of the Court using the CM/ECF
       system which will send notification of such filing to all CM/ECF
       participants, to Assistant US Trustee, Monsita Lecaroz, Esq., and
       by First Class U.S. Mail to parties in interest.
             In San Juan, Puerto Rico, this May 14, 2017.


                                                 /s/ EMILY DARICE DAVILA ESQ
                                                 EMILY D DAVILA RIVERA
                                                 USDC-PR 214203
                                                 MIDTOWN SUITE 311
                                                 420 PONCE DE LEON
                                                 SAN JUAN, PR 00918
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Case:17-01578-ESL11 Doc#:30 Filed:05/15/17 Entered:05/15/17 11:11:44   Desc: Main
                           Document Page 3 of 4
Case:17-01578-ESL11 Doc#:30 Filed:05/15/17 Entered:05/15/17 11:11:44   Desc: Main
                           Document Page 4 of 4
